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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


WILLIAM A. LINK, et al.,

     Plaintiffs,                               Case No. 4:21-cv-00271-MW-MAF

      v.

MANNY DIAZ, JR., in his official capacity
as the Florida Commissioner of Education,
et al.,

     Defendants.

                           JOINT STATUS REPORT

      Pursuant to this Court’s Initial Scheduling Order dated September 8, 2021

(ECF No. 41), Plaintiffs United Faculty of Florida, March for Our Lives Action

Fund, William A. Link, Barry C. Edwards, Jack Fiorito, Robin Goodman, David

Price, Julie Adams, and Blake Simpson (“Plaintiffs”); Defendants Manny Diaz, Jr.,

in his official capacity as the Florida Commissioner of Education (“Corcoran” or

“Diaz”); Timothy M. Cerio, Richard Corcoran, Aubrey Edge, Patricia Frost, Edward

Haddock, Craig Mateer, Ken Jones, Darlene Luccio Jordan, Alan Levine, Charles

H. Lydecker, Steven M. Scott, William Self, and Kent Stermon in their official

capacity as Members of the Florida Board of Governors; Brian Lamb in his official

capacity as Chair of the Florida Board of Governors; and Eric Silagy in his official

capacity as Vice Chair of the Florida Board of Governors (“BOG Defendants”); Tom
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Grady in his official capacity as Chair of the Florida Board of Education; Ben Gibson

in his official capacity as Vice-Chair of the Florida Board of Education; and Monesia

Brown, Esther Byrd, Grazie Pozo Christie, Ryan Petty and Joe York in their official

capacity as Members of the Florida Board of Education (“BOE Defendants”; and

together with BOG Defendants, “Defendants”) (hereinafter collectively referred to

as the “Parties”), respectfully submit their Joint Status Report, and state:

Initial Disclosures

      1.     On October 19, 2021, Plaintiffs and Defendants served their respective

initial disclosures. Defendants also produced documents in connection with their

initial disclosures, bates labeled Link 00001–0159.

      2.     On June 24, 2022, Plaintiffs filed Amended Initial Disclosures, (ECF

No. 121), and on July 8, 2022, Plaintiffs filed Second Amended Initial Disclosures

(ECF No. 124).

Plaintiffs’ Discovery

      Discovery to Defendants

      3.     Plaintiffs issued their First Requests for Production to Defendant

Corcoran, BOG Defendants, and BOE Defendants on September 10, 2021.

Defendants served written responses on October 25, 2021. Plaintiffs issued their

Second Requests for Production of Documents to Defendant Corcoran, BOG




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Defendants, and BOE Defendants on April 1, 2022. Defendants served written

responses on May 9, 2022.

             a.         Defendant Board of Governors produced documents in response

             to Plaintiffs’ Requests for Production on: (1) November 24, 2021, bates

             labeled Defendants_000001 – 006861; (2) February 25, 2022, bates

             labeled Defendants_006862 – 007635; (3) March 29, 2022, bates

             labeled Defendants_007636 – 007730; (4) May 3, 2022, bates labeled

             Defendants_007730–011678; (5) May 9, 2022, bates labeled

             Defendants_0011679–012910; (6) May 17, 2022, bates labeled

             Defendants_012911–030291; and (7) July 7, 2022, bates labeled

             Defendants_086925– 098659.

b. Defendant Board of Education produced documents in response to Plaintiffs’

  Requests        for    Production   on:     (1)   May    20,    2022,   bates   labeled

  Defendants_030292–030474;            (2)      June      1,     2022,    bates   labeled

  Defendants_040478–041304;             (3)     June      6,     2022,    bates   labeled

  Defendants_030475-77, correcting bates labeling; (4) June 27, 2022, bates

  labeled Defendants_041305–081040; (5) June 30, 2022, bates labeled

  Defendants_081041–085939; and (6) July 7, 2022, bates labeled Defendants_

  085940– 086924.




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            c.    After counsel for the Parties conferred regarding Defendants’

            response to request numbers 2 and 6 of the First Requests for

            Production, Plaintiffs filed a Motion to Compel Discovery from

            Defendants (“Motion”) on March 31, 2022 related to these requests as

            well as to certain interrogatories, as referenced below. On April 20,

            2022, the Court granted in part and denied in part the Motion and

            required Plaintiffs to narrow the scope of request numbers 2 and 6 (ECF

            No. 102). On April 27, 2022, the Parties conferred regarding the scope

            of request numbers 2 and 6, and on April 29, 2022, Plaintiffs sent

            Defendants revisions to request numbers 2 and 6. On May 6, 2022,

            Defendants provided a response to Plaintiffs proposed revisions.

            Defendants productions to date have included records that are

            responsive to request numbers 2 and 6. The parties are conferring on

            the scope of Defendants’ productions responsive to request number 2,

            including Plaintiffs’ obligations to narrow that request as required by

            the Court’s Order (ECF no. 102), and Defendants’ obligation to

            produce the data and assessments related to the survey in response to

            that request or in response to a new request.

      4.    On July 1, 2022, Plaintiffs requested a meet and confer on (1) the status

of ongoing production of Defendant Board of Education and Defendant Corcoran’s


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production of documents in response to Plaintiffs’ First Requests for Production, (2)

supplementation of Defendants’       privilege log describing redactions made to

documents; and (3) Defendant Board of Governors’ privilege log, which was

produced on November 24, 2021. On July 1, 2022, Defendant Board of Governors

produced a supplemental privilege log, which included information about

communications containing privileged redactions. On July 6, 2022, Defendants

advised that they will produce another supplemental privilege log upon completion

of the supplemental productions in the coming week.

      5.     Plaintiffs issued their First Set of Interrogatories to Defendant

Corcoran, BOG Defendants and BOE Defendants on September 10, 2021.

Defendants served responses on October 25, 2021. Plaintiffs’ Motion sought to

compel Defendants to supplement their responses to Interrogatory numbers 1, 2, 7,

8, and 9. On April 20, 2022, the Court granted the Motion as to Interrogatory

numbers 2, 7, and 8 and denied the Motion as to Interrogatory numbers 1 and 9 (ECF

No. 102). On May 9, 2022, Defendants served amended answers to Interrogatory

numbers 2, 7, and 8.

      6.     Plaintiffs issued their First Requests for Admission to Defendant

Corcoran, BOG Defendants, and BOE Defendants on April 1, 2022. On May 9,

2022, Defendants served written responses.




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      Third-Party Discovery

      7.    Plaintiffs have issued non-party subpoenas to the Governor of Florida,

members of the Florida House of Representative, members of the Florida Senate,

Education and Employee Committee, House Majority Office, Office of the House

Speaker, Office of the Senate President, Office of the Senate Secretary, Senate

Majority Office, the Senate Appropriations Committee, and Florida Atlantic

University Board of Trustee Member Barbara Feingold. All of the foregoing non-

party subpoenas were accepted by counsel on September 28, 2021, with the

exception of the non-party subpoena to Governor DeSantis, which was accepted by

Chief Deputy General Counsel on September 30, 2021, and the non-party subpoena

to Trustee Feingold, which was accepted on her behalf by General Counsel for

Florida Atlantic University on November 4, 2021. Objections to the non-party

subpoenas to the members, committees, and offices of the Florida House of

Representatives were received on October 11, 2021. Objections to the non-party

subpoenas to the members, committees, and offices of the Florida Senate were

received on October 12, 2021. Objection to the non-party subpoena to Governor

DeSantis was received on October 14, 2021. Objection to the non-party subpoena

to Barbara Feingold, in her individual capacity and as a Member of the Board of

Trustees for Florida Atlantic University was received on November 11, 2021.




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      8.     On October 12, 2021, Plaintiffs issued public records requests to

members of the Florida House of Representatives, members of the Florida Senate,

Education and Employee Committee, House Majority Office, Office of the House

Speaker, Office of the Senate President, Office of the Senate Secretary, Senate

Majority Office, and the Senate Appropriations Committee. The Florida House of

Representatives made productions on November 3, 2021, November 19, 2021,

December 6, 2021, December 8, 2021, December 10, 2021, December 14, 2021, and

December 17, 2021. The Florida Senate made productions on October 29, 2021

(Ray Rodrigues), November 19, 2021 and November 22, 2021. Counsel for the

Florida Senate confirmed documents responsive to Plaintiffs’ public records

requests are not being withheld. Counsel for the Florida House likewise confirmed

that documents responsive to Plaintiffs’ public records requests are not being

withheld. For these non-parties to whom Plaintiffs also served subpoenas, as

referenced above, Plaintiffs anticipate that public records productions may cover the

extent of documents responsive to the respective corresponding subpoenas, and do

not intend to seek enforcement of the respective subpoenas unless and until a need

arises after Plaintiffs’ review of the respective public records productions.

      9.     On October 18, 2021, Plaintiffs issued public records requests to

Governor DeSantis and to the University of Florida. The University of Florida made

a production on December 14, 2021. Governor DeSantis made a partial, but


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incomplete production on May 19, 2022 and Plaintiffs await the production of the

Governor’s remaining documents.

      10.    On November 16, 2021, Plaintiffs issued a public records request to

Florida Atlantic University Board of Trustee Member Barbara Feingold. Plaintiffs

have not received any documents from Member Feingold.

      11.    On December 23, 2021, Plaintiffs issued public records requests to

Florida State University and the University of Florida. The University of Florida

made productions on January 26, 2022 and April 28, 2022. Florida State University

made productions on February 8, 2022 and March 22, 2022. These documents have

been produced to Defendants pursuant to their Second Request for Production.

      12.    On January 14, 2022, Plaintiffs issued a public records request to

Florida Atlantic University. Plaintiffs have not received any documents from Florida

Atlantic University responsive to the public records request.

      13.    On February 21, 2022, Plaintiffs issued a non-party subpoena to Florida

Atlantic University. On March 22, 2022 Plaintiffs received Objections and

Responses to Plaintiffs’ Non-Party Subpoena from Florida Atlantic University along

with 21 documents that were not bates labeled. These documents have been

produced to Defendants pursuant to their Second Request for Production.

      14.    On April 20, 2022, Plaintiffs issued non-party subpoenas to Broward

College, Chipola College, Florida A&M University, Florida Atlantic University,


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Florida International University, Florida Gulf Coast University, Florida Polytechnic

University, Florida State University, Hillsborough Community College, New

College of Florida, Palm Beach State College, Santa Fe College, Seminole State

College, University of Central Florida, University of Florida, University of North

Florida, University of South Florida, and University of West Florida. Plaintiffs

received documents responsive to these non-party subpoenas from each non-party.

Plaintiffs represent these documents have been produced to Defendants pursuant to

their Second Request for Production.

      15.    On April 27, 2022, Plaintiffs issued a public records request to Florida

State University. Florida State University made a production in response to

Plaintiffs’ April 20, 2022 subpoena that includes some, but not all of the documents

requested by Plaintiffs’ April 27, 2022 public records request. Plaintiffs await the

production of Florida State University’s remaining documents.

      16.    Defendants are not in a position to confirm when the various public

entities produced documents to Plaintiffs in response to their various public records

requests. Defendants have received the following productions from Plaintiffs in

response to Defendants’ Second Request for Production:

             a.    January 21, 2021: FL_HOU000001-FL_HOU235386

             b.    January 21, 2022: FL_SEN001259-3737

             c.    January 21, 02022: PL_000511-PL_002472


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            d.     February 2, 2022: FL_SEN000001-FL_SEN001258

            e.     February 10, 2022: FSU_000001-000237

            f.     March 25, 2022: FSU_000238-002023

            g.     April 8, 2022: FAU_0000001-FAU_0000803

Plaintiffs state that the productions made on May 20, 2022 and May 27, 2022, bates

labeled PL 003311-7562, and PL 007635-10092, include the remainder of the

documents received by the public entities and the other third parties, with the

exception of the University of Florida’s productions made on January 26, 2022 and

April 28, 2022, which were produced to Defendants on June 8, 2022 and are bates

labeled PL_010093–PL_010219.

Defendants’ Discovery

      17.   Defendants issued their First Sets of Interrogatories and First Requests

for Production to Plaintiffs on November 8, 2021. Plaintiffs’ responses were served

on Defendants on January 7, 2022 and January 14, 2022, respectively. Plaintiffs

made productions of documents responsive to this request on January 11, 2022,

January 24, 2022, February 4, 2022, February 17, 2022, March 1, 2022, March 25,

2022, March 28, 2022, March 29, 2022, March 31, 2022, April 8, 2022, May 4, 2022,

May 20, 2022, May 25, 2022, and May 27, 2022 bates labeled PL 000001-000510,

PL FIORITO 000001-000246, PL GOODMAN 000001-000289, PL EDWARDS

000001-712, PL GOODMAN 000290-000345, PL UFF 000001-001135, PL



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002708-3310, PL MFOL 0000001-130, PL SIMPSON 0000001, PL ADAMS

0000001, PL PRICE 0000001-64, PL UFF 001136-1290, PL ADAMS 0000002-16,

PL LINK 0000001-225, PL UFF 001291-1556, PL 002473-2707, PL 003311-

007634, PL UFF 001557-1689, PL LINK 0000226-232, PL GOODMAN 000346-

354, PL 007635-10092, PL ADAMS 0000017-23, PL EDWARDS 000713-715, PL

GOODMAN 000355-366, PL MFOL 0000131-135, PL UFF 001690-1784, and PL

UFF 001785–0018791.

      18.   Defendants issued their Second Request for Production of Documents

to Plaintiffs on December 20, 2021, requesting copies of records obtained through

public records requests and subpoenas. Plaintiffs responded to Defendants’ Second

Request for Production of Documents on January 14, 2022.           Plaintiffs made

productions on January 21, 2022, February 2, 2022, February 10, 2022, March 25,

2022, April 8, 2022, and June 8, 2022 bates labeled PL 000511-2472, FL

HOU000001-235386,        FL    SEN000001-001258,       FL     SEN001259-003737,

FSU000001-000237, FSU000238-2023, FAU0000001-0000803, and PL_010093-

PL_010219 responsive to Defendants Second Request for Production. On May 20,

2022 Plaintiffs produced bates labeled PL 003311-007562 in response to Defendants

First Request for Production; Plaintiffs now represent that this set of 4,251 pages



1
 PL UFF 001785–001879 were responsive to Defendants’ First Requests for
Production and Third Requests for Production.

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includes documents “responsive to [Plaintiffs’ April 20, 2022] subpoena to the

universities and colleges,” but they do not identify which documents among the

4,251 pages were produced by the universities and colleges. Likewise, on May 27,

2022, Plaintiffs produced bates labeled PL 007635-10092 in response to Defendants

First Request for Production; Plaintiff represent that this set of 2,457 pages includes

documents from Governor DeSantis’s office responsive to Plaintiffs’ October 18,

2021 public records request, but they do not identify which documents among the

2,457 pages were produced by Governor DeSantis. Plaintiffs state that Defendants

have requested and received a load file in conjunction with every production which

identifies the custodian of each document within the production.

      19.    On April 25, 2022, Defendants requested to meet and confer on

Plaintiffs’ objections and responses to the First Requests for Production. On April

27, 2022, the Parties conferred regarding Plaintiffs’ objections, responses and claims

of privilege. Plaintiffs produced their privilege log on May 4, 2022. On May 6,

Defendants requested to meet and confer on Plaintiffs’ privilege log. On May 27,

2022, Plaintiffs followed up to the meet and confer on Plaintiffs’ privilege log by

letter. Counsel for Plaintiffs and counsel for Defendants further conferred on

Plaintiffs’ privilege log throughout June 2022. On June 29, 2022, Plaintiffs produced

a revised privilege log. On July 7, 2022, Defendants made an additional conferral

attempt on Plaintiffs’ revised privilege log, requesting the production of specific


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records from the log.

        20.   On April 28, 2022, Defendants requested to meet and confer on

Plaintiffs’ objections and responses to the First Sets of Interrogatories. On May 6,

2022, Plaintiffs provided a response to Defendants’ request to meet and confer on

Plaintiffs’ objections and responses to the First Sets of Interrogatories.

        21.   On May 11, 2022, Defendants issued their Third Requests for

Production on Plaintiffs United Faculty of Florida and March for Our Lives Action

Fund. Plaintiffs responded to Defendants’ Third Request for Production on June 10,

2022.    Plaintiffs   made   productions    on    June   10,   2022,    bates   labeled

PL_UFF_001785–PL_UFF_001879, and on July 8, 2022, bates labeled

PL_UFF_001880–001882 and PL_MFOL_ 0000136–0000349.2

        22.   On June 12, 2022, Defendants requested a meet and confer on Plaintiff

United Faculty of Florida’s and March for Our Lives Action Fund’s production of

documents related to the diversion of resources. On June 22, 2022, Plaintiffs

provided a response to Defendants’ request to meet and confer. Counsel for Plaintiffs

and counsel for Defendants further conferred on June 22, 2022 and June 24, 2022.

        23.   On May 23, 2022, Defendants issued their Fourth Request for

Production on Plaintiff United Faculty of Florida. Plaintiff United Faculty of Florida



2
  PL_UFF_001880–001882 and PL_MFOL_ 0000136–0000349 were responsive
to Defendants’ First Requests for Production and Third Requests for Production.

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responded to Defendants’ Fourth Request for Production on June 22, 2022.

Depositions

      24.     Defendants have deposed William A. Link, Robin Goodman, Julie

Adams, David Price, Blake Simpson, Jack Fiorito, and Barry C. Edwards; and have

noticed the deposition of the corporate representatives of March for Our Lives

Action Fund (July 14) and United Faculty of Florida (July 28).

      25.     Plaintiffs have deposed Dr. Tim Chapin, Dean of the College of Social

Sciences and Public Policy at Florida State University; Dr. Lonna Atkeson, Political

Science & Director of the LeRoy Collins Institute at Florida State University; Dr.

Jon Rogers, Assistant Vice Chancellor of Special Project for the State University

System of Florida; and Dr. Deana Rohlinger, Research Director of the Institute of

Politics at Florida State University. Plaintiffs have noticed the depositions of the

Defendant Florida Board of Governors and Corcoran. Defendants dispute the scope

of the topics noticed for the Florida Board of Governors’ deposition and have moved

for a protective order to limit them. (ECF No. 113). Defendants assert Corcoran

cannot be deposed because of the apex doctrine and deliberative-process privilege

and have moved for a protective prohibiting his deposition. (ECF No. 122). Plaintiffs

have also subpoenaed for deposition J. Alex Kelly, Deputy Chief of Staff for the

Office of Governor Ron DeSantis. On May 27, 2022, Counsel for Defendants,

representing Mr. Kelly, requested Plaintiffs detail the areas of inquiry to assess



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whether a motion for protective order or motion to quash the subpoena may be

warranted. Plaintiffs discussed this matter with Defendants on May 27, 2022 and

provided a further detailed response on June 8, 2022. On June 9, Defendants advised

that Mr. Kelly would appear for deposition and that appropriate objections and

instructions would be asserted as warranted. On July 7, the parties mutually agreed

that Mr. Kelly’s deposition would go forward on July 19th.

      26.      The Parties are actively coordinating to schedule the remaining

depositions.

Respectfully submitted this 8th day of June, 2022.

/s/ Frederick S. Wermuth                  /s/ George T. Levesque
Frederick S. Wermuth                      George T. Levesque
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*Admitted Pro Hac Vice

 Counsel for Plaintiffs



                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 8, 2022 I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel in the Service List below.

                                        /s/ Frederick S. Wermuth
                                        Frederick S. Wermuth
                                        Florida Bar No. 0184111



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                            SERVICE LIST

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